  Case 18-12095-BFK            Doc 6 Filed 06/17/18 Entered 06/18/18 00:24:33                         Desc Imaged
                                    Certificate of Notice Page 1 of 2
                                       United States Bankruptcy Court
                                             Eastern District of Virginia
                                                 Alexandria Division
                                             200 South Washington Street
                                                Alexandria, VA 22314


                                                             Case Number 18−12095−BFK
                                                             Chapter 11
In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

    WW Contractors, Inc.
    P.O. Box 597
    Randallstown, MD 21133
Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s).,(if any):
   Debtor: NA
Employer Tax−Identification (EIN) No(s).(if any):
  Debtor: 52−1525622


                                  NOTICE OF POSSIBLE DISMISSAL
                      PURSUANT TO LBR 1007−1 LISTS, SCHEDULES AND STATEMENTS


TO:            DEBTOR OR DEBTOR'S COUNSEL

You filed a petition with the Office of the Clerk of the United States Bankruptcy Court, Eastern District of Virginia,
on June 14, 2018. Pursuant to Local Bankruptcy Rule 1007−1, please be advised that the following document(s) are
missing and must be filed within fourteen (14) days of the petition date.

Missing Documents Due: June 26, 2018

Failure to timely file the missing document(s) or to timely seek an extension of time, will result in the automatic
dismissal of the bankruptcy case without further notice.

**Missing Document(s):

Statement of Financial Affairs
Summary of Your Assets and Liabilities and Certain Statistical Information
List of Equity Security Holders
Schedules A/B, D, E/F, G & H

                                                             William C. Redden
                                                             Clerk, United States Bankruptcy Court
Date: June 15, 2018
                                                             /s/ Elizabeth W. Douglass
                                                             Deputy Clerk

[10071vDec2015.jsp]
        Case 18-12095-BFK              Doc 6 Filed 06/17/18 Entered 06/18/18 00:24:33                               Desc Imaged
                                            Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Eastern District of Virginia
In re:                                                                                                     Case No. 18-12095-BFK
WW Contractors, Inc.                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0422-9                  User: douglasse                    Page 1 of 1                          Date Rcvd: Jun 15, 2018
                                      Form ID: 1007115                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 17, 2018.
db             +WW Contractors, Inc.,   P.O. Box 597,   Randallstown, MD 21133-0597

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 17, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 15, 2018 at the address(es) listed below:
              John P. Fitzgerald, III   ustpregion04.ax.ecf@usdoj.gov
                                                                                            TOTAL: 1
